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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO
                                Magistrate Judge N. Reid Neureiter

  Civil Action No: 24-cv-00183-CNS-NRN                   Date: April 24, 2024
  Courtroom Deputy: Román Villa                          FTR: Courtroom A401

   Parties:                                              Counsel:

   BRENDA GONZALEZ,                                      Daniel Vedra

        Plaintiff,

   v.

   JPMORGAN CHASE BANK, N.A.,                            Jonathan Geneus
                                                         John Wharton

        Defendant.


                                     COURTROOM MINUTES


  TELEPHONIC SCHEDULING CONFERENCE

  10:30 a.m.         Court in session.

  Court calls case. Appearances of counsel.

  THE FOLLOWING WILL CONFIRM THE ACTIONS TAKEN AND DATES SET AT
  THE SCHEDULING CONFERENCE HELD THIS DATE.

  Initial Disclosures have been exchanged.

  Parties shall meet and confer regarding any need for a Protective Order, and if needed,
  then parties shall file their stipulated Motion for Protective Order and proposed
  Protective Order within the next 10 days.

  Joinder of Parties/Amendment to Pleadings: June 10, 2024

  Discovery Cut-off: October 24, 2024

  Dispositive Motions Deadline: November 22, 2024

  Each side shall be limited to 4 depositions, excluding experts.
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  Depositions shall not exceed 7 hours parties, all other fact depositions are limited to 4
  hours. For retained experts, depositions shall not exceed 7 hours.
  Each side shall be limited to 15 interrogatories, 15 requests for production, and 15
  requests for admission.
  Interrogatories, Requests for Production, and Requests for Admissions shall be served
  45 days prior to the close of discovery.

  Each side shall be limited to 2 retained expert witnesses, absent leave of court.
  Disclosure of Affirmative Experts: August 1, 2024
  Disclosure of Rebuttal Experts: September 1, 2024
  The disclosure of Experts shall be consistent with Fed. R. Civ. P. 26(a)2(B).

  Telephonic Status Conference is set for July 24, 2024, at 10:30 a.m. before
  Magistrate Judge N. Reid Neureiter in Courtroom A401, Fourth floor, Alfred A. Arraj
  Courthouse, 901 19th Street, Denver, Colorado 80294. Five minutes prior to the start
  of the hearing, the parties shall call the conference line 571-353-2301, Access
  Code 841686937# to participate.

  Final Pretrial Conference/Trial Preparation/Trial Dates: Counsel shall contact Judge
  Sweeney’s chambers by email (Sweeney_Chambers@cod.uscourts.gov) within two
  business days of the Scheduling Conference to obtain dates for a final pretrial/trial
  preparation conference and trial.

  Counsel may not file any OPPOSED discovery motions without leave of court.
  Counsel are instructed that should a discovery dispute arise they are to comply
  with Local Rule 7.1(a) in an effort to resolve the issues. If that is unsuccessful,
  counsel shall jointly call Chambers at (303) 335-2403 to arrange for a discovery
  hearing before the Court. At least two business days prior to the hearing, the
  parties shall email Chambers Neureiter_Chambers@cod.uscourts.gov a joint
  statement, no longer than ten pages, setting out each party’s position with regard
  to each dispute.

  Parties are directed to www.cod.uscourts.gov and shall fully comply with the
  procedures of the judicial officer assigned to try this case on the merits.

  Scheduling Order entered.

  11:04 a.m.   Court in recess.

  Hearing concluded.
  Total in-court time: 00:34

  *To order transcripts of hearings, please contact either Patterson Transcription
  Company at (303) 755-4536 or AB Litigation Services at (303) 629-8534.

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